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UNITED STATES DISTRICT COURT
SOUTHERN DI~TRICT OF NEW YORK
----------------------------------------------------------------------)(
RICHARD GUERTIN                                                                ECFCASE

                                         Plaintiff,
                                                                           11 Civ. 4661 (KMK)
                        -against-

UNITED STATES OF AMERICA, DEPARTMENT
OF HOUSING AND URBAN DEVELOPMENT

                                         Defendant.

----------------------------------------------------------------------)(




   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF'S MOTION FOR
       SUMMARY JUDGMENT PURSUANT TO F.R.C.P. RULE 56




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                            PRELIMINARY STATEMENT

        This memorandum of law is submitted on behalf of the plaintiff, Richard Guertin

("Guertin"), in support of Guertin's motion for summary judgment pursuant to

Fed.R.Civ.Proc. Rule 56. All of the facts upon which this motion is based are set forth in

the allegations contained in Guertin's verified complaint and Rule 56.1 Statement and

those facts are respectfully incorporated in this memorandum.

                           THE NATURE OF THE CLAIM

        This actior: was brought pursuant to the Administrative Procedure Act to seek

judicial review ofa final determination made by the defendant United States Department

of Housing and Urban Development ("HUD") which denied Guertin's request that HUD

authorize the City of Middletown, NY (the "City") to reimburse Guertin, out of the City'S

HUD administrative funds, for the expenses that he incurred in his defense of a criminal

proceeding. HUD's determination was issued in a June 12,2008 letter of Elton J. Lester,

then Acting Associate General Counsel ofHUD's Office of Assisted Housing and

Community Development (Complaint, at 13, Exhibit E) and was affirmed, upon

Guertin's and the City's requests for reconsideration, by letters dated February 9,2011,

from Yolanda Chavez, Deputy Assistant Secretary for Grant Programs (Complaint, at 22-

23, Exhibits Land M).

        Guertin claims that HUD's determination is arbitrary and capricious and is in

violation of his right to equal protection as guaranteed by the Fifth Amendment. J



J The
    Complaint mistakenly asserts Guertin's equal protection claim under the Fourteenth
Amendment. On the consent of the US Attorney, Guertin respectfully requests that the
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                                       ARGUMENT

                                        Point 1
                     HUD's determination is arbitrary and capricious

       Under the Administrative Procedure Act, a reviewing court "shall ... hold unlawful

and set aside ager.cy action, fmdings, and conclusions found to be ... arbitrary, capricious,

an abuse of discretion, or otherwise not in accordance with law." Natural Resources

Defense Council v.   u.s. E.P.A., 658 F.3d 200, 215 (2d Cir. 2011), quoting 5 U.S.C.
§706(2)(A). WhPe "[i]n reviewing agency action, this Court may not 'substitute its

judgment for that of the agency'[,]" Citizens to Preserve Overton Park, Inc. v. Volpe, 401

U.s. 402, 416 (1971), the Court's "inquiry must be searching and careful."     u.s. E.P.A.,
658 F.3d at 215, quoting, Natural Res. De! Council, Inc. v. FAA. 564 F.3d 549,555 (2d

Cir. 2009). "The record must show that 'the agency ... examine[d] the relevant data and

articulate[d] a satisfactory
                    ,
                             explanation for its action.'" U.S. E.P.A., 658 F.3d at 215,

quoting FAA. 564 F.3d at 555; see, also, Cablevision Systems Corp. v.     F.c.c., 570 F.3d
83,92 (2d Cir. 2009) ("An administrative agency has a duty to explain its ultimate

action."). "Moreover, the agency's decision must reveal a 'rational connection between

the facts found and the choice made.'" U.S. E.P.A., 658 F.3d at 215, quoting FAA, 564

F.3d at 555. Although this Court may "uphold a decision ofless than ideal clarity if the

agency's path rna:! reasonably be discerned, ... [it] may not supply a reasoned basis for



Complaint be deemed amended to assert that his equal protection claim comes under the Fifth
Amendment. See, Smith v. Defendant A, L 1514590,3 -4 (S.D.N.Y.2009) ("[T]here is a well-
established equal pj'otection component to the Fifth Amendment Due Process Clause applicable
to the federal government."), quoting Skelly v. INS.. 168 F.3d 88, 91 (2d Cir. 1999).

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the agency's action that the agency itselfhas not given." (internal quotation marks

omitted). U.S. E.f'.A., 658 F.3d at 215.

       In September, 2007, HUD authorized the City to reimburse Neil Novesky, the

former Director of Middletown's Office of Economic and Community Development and

one of Guertin's co-defendants in the same criminal proceeding, $79,800.00 for his,

Novesky's, legal expenses out of the City's HUD administrative funds. HUD did so for

the following   re~on:

              Section 105(a)(l3) of the Housing and Community Development Act of
       1974 authorizes CDBG funds to be used for "the payment of reasonable
       administrative costs and carrying charges related to the planning and execution of
       community and housing activities." See also 24 CFR § 570.206. The CDBG
       regulation at 24 CFR § 570.200(a)(5) further subjects administrative costs to OMB
       Circular A-87, "Cost Principles for State, Local, and Indian Tribal Governments"
       (May 10,2004). Under the Circular, Attachment B, section 10.b, Defense and
       prosecution of criminal and civil proceedings, and claims provides "[l]egal
       expenses required in the administration of [t]ederal programs are allowable."

               As a general matter, CPD has taken the position that a recipient may use
       CDBG fluids to pay reasonable legal expenses incurred in defense of lawsuits
       resulting from its administration of the CDBG program as long as the grantee has
       acted with due diligence in the administration of the program. In this case, we
       note that the proceedings resulted from actions undertaken in the ordinary course
       of the Director's employment and the court acquitted him of all charges after a
       trial on the merits. Further, no CDBO funds financed the employee's defense
       during the proceedings. Under these circumstances, we believe the legal expenses
       would be required in the administration of the CDBG program for purposes of
       section 10.b (emphasis added).

See, Complaint, at ~~9-11; Exhibit B (September 7,2007 Letter of Elton J. Lester)

       In a letter dated March 17,2008 (see, Complaint, at ~12; Exhibit D) Guertin's

attorney requested that HUD authorize the City to reimburse Guertin's expenses and




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provided the following reasons why HUD should consider Guertin to be identically

situated to Novesky:

       1. The criminal allegations against Guertin involved the same administration of

Federal programs that gave rise to the criminal allegations against Novesky.

       2. Guertin and Novesky faced the same criminal allegations of improperly using

CDBG funds for economic development loans.

       3. The economic development loans that formed the bases of the charges against

Guertin are the same loans upon which the charges against Novesky were based.

       4. The co~rt which presided over the non-jury trial in the criminal proceeding

"expressly found that 'every single one' of the seven economic development loans

questioned were properly granted and documented." (Quoting September 7, 2007 Lester

Letter, Complaint's Exhibit B.)

       5. Guertin, like Novesky, was found not guilty of all of the charges against him

that were contained in the indictment.

       6. Guertin played an integral role in the administration of the subject HUD loans

and thus, like Novesky, the "reasonable legal expenses" incurred by Guertin were in the

defense of crimin~l charges that "resulted from actions undertaken in the ordinary course

of [Guertin's] employment". (Quoting September 7,2007 Lester Letter, Complaint's

Exhibit B.i



        2 Guertin, as Corporation Counsel, was involved in the administration of the specific
CDBG funds at issue in the criminal proceedings, as the indictment involved, inter alia, funds
under §108 ofthe Housing and Community Development Act of 1974 (42 USC §5308) and the
definition of "CDBG funds" under 24 CFR 570.3 includes § 108 funds. HUD does not allow a
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      7. As Middletown's Corporation Counsel, Guertin's typical duties regarding HUD

loans included reviewing (and sometimes assisting in the preparation of) commitment

letters from the City's Office of Economic and Community Development ("OECD");

obtaining and reviewing preliminary title insurance reports; obtaining and reviewing

HUD documentation; obtaining the Mayor's and the OECD Director's signatures on

documents required by HUD; negotiating with HUD regarding documentation

requirements; preparing legal opinion letters as required by HUD; preparing and

reviewing promissory notes; preparing mortgages when the City was taking back a

mortgage; prepari~g or reviewing collateral security agreements when the City was

taking security against the borrowers' personal property; attending closings when

requested by the OECD Director; and taking enforcement action on delinquent loans

when requested by the OECD.

       8. Like Novesky, "no CDBG funds financed [Guertin's] defense during the

proceedings." (quoting September 7,2007 Lester Letter, Complaint's Exhibit B)

       HUD determined, by Lester's letter of June 12, 2008 (see, Complaint, at ~13;

Exhibit E), that Guertin's legal expenses "are not eligible under the CDBG program"

because, according to HUD, the activities and responsibilities of the Corporation

Counsel, as enumerated above, "did not serve as the basis for the criminal proceedings

brought against [Guertin]." Specifically, HUD's stated reason for refusing to authorize

reimbursement was that



§108 loan to be completed without a legal opinion/authorization from the municipal attorney
which, in Middletown's case, was Guertin, the Corporation Counsel.
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      the court documents described Mr. Guertin's questioned activities as being
      undertaken for the mayor's personal benefit as opposed to providing legal services
      to carry out the city's CDBG program. The court presiding over the case stated
      "attorney Guertin did wear two hats. And in his zeal to represent his private client
      DeStefano, he was blinded to his obligation to the City of Middletown ... So[,]
      Mr. Guertin did his job as attorney for a private citizen, DeStefano." In our view,
      legal expenses arising from a mayor's private business dealings, as well as those
      arising from advising the mayor on such matters, are not required in the city's
      administration of the CDBG program.

See, Complaint, at ~13; Exhibit E.

       In giving this explanation for denying Guertin's request for reimbursement, HUD
                    I



misstated the reason why Guertin was indicted. Guertin's indictment and legal expenses

did not arise from his "advising the mayor" on the "mayor's private business dealings."

The indictment arose out of an unfounded suspicion that, because Guertin was the

Mayor's personal attorney, he must have been willing to compromise his duties and

obligations, as Corporation Counsel, in the administration of the City's CDBG program.

This is borne out by the nature of the charges in the indictment that were made against

Guertin.

       Guertin was named in 8 of the 55 counts in the indictment (Complaint, Exhibit

A).3 Guertin's conduct as Middletown's Corporation Counsel served as the explicit basis

for 6 of those 8 counts. See, Complaint, Exhibit A, Count 1 [Defrauding the Government

in violation ofNYS Penal Law §195.20 (referring to the defendants, including Guertin as

"being public servants or party officers")]; Counts 38, 41 [Official Misconduct in

violation ofNYS Penal Law §195.00(1) (alleging that the defendants, "acting



       3   DeStefano was named in 52 of the counts and Novesky in 22.


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individually and in concert with one another ... did commit an act relating to their

offices")]; Counts 39 and 42 [Engaging in a Prohibited Conflict of Interest in violation of

NYS General Municipal Law §§80 1 and 805 (referring to Guertin as a "municipal officer

or employee")]; Count 55 [Conspiracy in the Fifth Degree in violation ofNYS Penal Law

§105.05(l) (alleging that Guertin acted "in his capacity as Corporation Counsel for the

City of Middletown")]. Thus, even if the trial judge did say that Guertin "did his job as

attorney for a private citizen," that is not what Guertin was indicted for. He was indicted

on the mistaken belief that he had done something wrong as the attorney for the City in

the course of his   ~dministration   of the City's CDBG program.

       While there may be differences of opinion as to whether Guertin had an ethical

obligation to not represent the Mayor on any HUD loans that may have affected the

Mayor's interests, the dispositive facts that are not in dispute are (1) "every single one of

the seven economic development loans questioned were properly granted and

documented", and (2) but for the fact that Guertin was the City's attorney involved in the

administration of those loans, Guertin would not have been charged with the crimes set

forth in the indictment. Based upon these two undisputed and undeniable facts, the same

reason for HUD's approving Novesky's request for reimbursement of his legal expenses

applies, with equal force, to Guertin's request. For, just as the charges in the indictment

"resulted from actions undertaken in the ordinary course of the Director's employment"

(September 7,2007 Lester Letter), the charges in the indictment also resulted from

actions undertaken in the ordinary course of the Corporation Counsel's employment.



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      Since HUD determined that Novesky's "legal expenses would be required in the

administration of the CDBG program for purposes of section 10.b", the same

determination must be made for Guertin's legal expenses. Novesky and Guertin are

identically situated under section 10.b and HUD's attempt to distinguish them is arbitrary

and capricious.

                                      Point 2
                        HUD's determination violates Guertin's
                       5th Amendment Right to Equal Protection

       Guertin's equal-protection claim is in the nature of a "class of one" claim. See,

Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000). Courts "have recognized

successful equal protection claims brought by a 'class of one,' where the plaintiff alleges

that [he] has been intentionally treated differently from others similarly situated and that

there is no rational basis for the difference in treatment." Morel v. Thomas, 2003 WL

21488017,5 (S.D.N.Y. 2003), quoting Olech, 528 U.S. at 564; see, also Toussie v. Town

Bd. of East Hampton, 2012 WL 2309049, 7 (E.D.N.Y. 2012) (same). "Thus, the three

elements of a 'class of one' equal-protection claim are that 1) the person received

different treatment than others similarly situated, and that this disparate treatment was 2)

irrational and wholly arbitrary and 3) intentional." Thomas, 2003 WL 21488017,5, citing

Giordano v. City ofNew York, 274 F.3d 740, 751 (2d Cir.2001); DeMuria v. Hawkes, 328

F.3d 704, 706-07 (2d Cir.2003).

       "[T]here is nothing in the plain language of Olech that requires an allegation of

malice[.]" Pappas v. Town OfEnfield, 2010 WL 466009, 6 (D.Conn.,2010) "[D]istrict

courts since Olecl! have typically required that a successful class-of-one plaintiff

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establish [that] ... the disparate treatment was either (a) without a rational basis, or (b)

motivated by animus." Willets Point Industry and Realty Ass'n v. City ofNew York, 2009

WL 4282017, 4 (E.D.N.Y. 2009) (emphasis in original), citing Oleson v. Morgan, No.

06-CV-959, 2009 WL 2045682, at *7 (N.D.N.Y. July 8, 2009), Whalen v. City of

Syracuse, No. CV-08-0246, 2008 WL 2073941, at *1 (N.D.N.Y. May 14,2008), Assoko

v. City of New York, 539 F.Supp.2d 728, 735 (E.D.N.Y.2008). The element of

"intentional disparate treatment," requires the class of one plaintiff simply to prove that

the agency "knew that they were treating [Guertin] differently from anyone else." Assoko

v. City of New York, 539 F.Supp.2d 728, 736 (S.D.N.Y. 2008), citing Giordano v. City of

New York, 274 F.3d 740, 751 (2d Cir.2001).

       While the Supreme Court's decision in Engquist v. Oregon Dep't ofAgriculture,

553 U.S. 591 (2008) eliminated class-of-one claims for government employees, Guertin,

as Corporation Counsel, was an employee of the City ofMiddletoWD, not HUD, and thus

Engquist should not be a bar to Guertin's "class of one" claim. See, Analytical

Diagnostic Labs, Inc. v. Kusel, 626 F.3d 135, 143 (2d Cir. 2010), where the Second

Circuit held that "Engquist does not bar all class-of-one claims involving discretionary

state action" and joined in the Seventh Circuit's examination of the "underlying

reasoning" in Engquist:

       First, the [Engquist] Court emphasized that the judgments unsuited to a class-of-
       one claim are typically "subjective and individualized, resting on a wide array of
       factors that are difficult to articulate and quantify." That describes employment
       decisions because treating like individuals differently in the employment context is
       "par for the course." Second, the Court noted that the constitutional constraints on
       government are much less onerous when it acts as employer as compared to acting
       as sovereign. Finally, the Court recognized that, in the employment context, an

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       uncabined class-of-one theory risks making a constitutional case out of every
       decision by a government employer.

Kusel, 626 F.3d at 141-142, quoting Hanes v. Zurick, 578 F.3d 491,495 (7th Cir. 2009).

       Thus, for the same reasons set forth in Point 1, above (that HUD has acted

arbitrarily and capriciously by refusing to apply the same interpretation of Attachment B,

section 1O.b to Guertin's request as it applied to Novesky's), this Court should find that

HUD also violated Guertin's right to equal protection under the Fifth Amendment.

Guertin has clearly demonstrated, on the undisputed facts in this record, that (1) he

received "different" treatment from someone who was "similarly situated", (2) this

disparate treatment was "irrational and wholly arbitrary" and (3) it was "intentional".

Thomas, 2003 WL 21488017, at 5.

                                     CONCLUSION

       Based upon the foregoing, plaintiffs Rule 56 motion for summary judgment

should be granted and plaintiff should receive the relief sought in the Complaint.

Dated June 25, 2012



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